                                  Case: 1:18-cv-01061 Document #: 2 Filed: 02/12/18 Page 1 of 1 PageID #:15
ILND 44 (Rev. 07/10/17)                                                            CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                          DEFENDANTS
 Kenneth Albrecht                                                                                                          Oasis Power, LLC d/b/a Oasis Energy


    (b) County of Residence of First Listed Plaintiff Cook                                                                 County of Residence of First Listed Defendant                         Harris
                                         (Except in U.S. plaintiff cases)                                                 (In U.S. plaintiff cases only)
                                                                                                                           Note: In land condemnation cases, use the location of the tract of land involved.

    (c) Attorneys (firm name, address, and telephone number)                                                               Attorneys (if known)




II. BASIS OF JURISDICTION (Check one box, only.)                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                   (Check one box, only for plaintiff and one box for defendant.)
    1     U.S. Government                ■   3 Federal Question                                                                                     PTF       DEF                                                    PTF         DEF
            Plaintiff                            (U.S. Government not a party)                                     Citizen of This State                 1         1 Incorporated or Principal Place                  4            4
                                                                                                                                                                       of Business in This State

    2     U.S. Government                    4 Diversity                                                           Citizen of Another State                2           2    Incorporated and Principal Place           5              5
            Defendant                           (Indicate citizenship of parties in Item III.)                                                                              of Business in Another State

                                                                                                                   Citizen or Subject of a                 3           3    Foreign Nation                             6              6
                                                                                                                     Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
             CONTRACT                                                     TORTS                                        PRISONER PETITIONS                                  LABOR                         OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                   PERSONAL INJURY                        510 Motions to Vacate Sentence           710 Fair Labor Standards Act            375 False Claims Act
    120 Marine                                310 Airplane                      365 Personal Injury -                 Habeas Corpus:                           720 Labor/Management Relations          376 Qui Tam (31 USC 3729 (a))
    130 Miller Act                            315 Airplane Product                   Product Liability                530 General                              740 Railway Labor Act                   400 State Reapportionment
    140 Negotiable Instrument                      Liability                    367 Health Care/                      535 Death Penalty                        751 Family and Medical                  410 Antitrust
    150 Recovery of Overpayment               320 Assault, Libel & Slander          Pharmaceutical                    540 Mandamus & Other                         Leave Act                           430 Banks and Banking
        & Enforcement of Judgment             330 Federal Employers’                Personal Injury                   550 Civil Rights                         790 Other Labor Litigation              450 Commerce
    151 Medicare Act                              Liability                         Product Liability                 555 Prison Condition                     791 Employee Retirement                 460 Deportation
    152 Recovery of Defaulted Student         340 Marine                        368 Asbestos Personal Injury          560 Civil Detainee – Conditions              Income Security Act                 470 Racketeer Influenced and
        Loans (Excludes Veterans)             345 Marine Product Liability           Product Liability                     of Confinement                                                                  Corrupt Organizations
    153 Recovery of Veteran’s Benefits        350 Motor Vehicle                                                                                                                                        480 Consumer Credit
    160 Stockholders’ Suits                   355 Motor Vehicle                   PERSONAL PROPERTY                                                             PROPERTY RIGHTS                        490 Cable/Sat TV
    190 Other Contract                            Product Liability               370 Other Fraud                                                              820 Copyrights                          850 Securities/Commodities/
    195 Contract Product Liability            360 Other Personal Injury           371 Truth in Lending                                                         830 Patent                                  Exchange
    196 Franchise                             362 Personal Injury -               380 Other Personal                                                           835 Patent – Abbreviated                890 Other Statutory Actions
                                                  Medical Malpractice                 Property Damage                                                              New Drug Application                891 Agricultural Acts
                                                                                  385 Property Damage                                                          840 Trademark                           893 Environmental Matters
                                                                                      Product Liability                                                                                                895 Freedom of Information Act
                                                                                                                                                                                                       896 Arbitration
          REAL PROPERTY                          CIVIL RIGHTS                        BANKRUPTCY                       FORFEITURE/PENALTY                         SOCIAL SECURITY                       899 Administrative Procedure
    210 Land Condemnation                     440 Other Civil Rights              422 Appeal 28 USC 158               625 Drug Related Seizure                 861 HIA (1395ff)                            Act/Review or Appeal of
    220 Foreclosure                           441 Voting                          423 Withdrawal 28 USC 157               of Property 21 USC 881               862 Black Lung (923)                        Agency Decision
    230 Rent Lease & Ejectment                442 Employment                                                          690 Other                                863 DIWC/DIWW (405(g))                  950 Constitutionality of
    240 Torts to Land                         443 Housing/                                                                                                     864 SSID Title XVI                           State Statutes
    245 Tort Product Liability                    Accommodations                    IMMIGRATION                                                                865 RSI (405(g))
    290 All Other Real Property               445 Amer. w/Disabilities -          462 Naturalization Application
                                                  Employment                      463 Habeas Corpus -
                                                                                      Alien Detainee
                                              446 Amer. w/Disabilities -                                                                                          FEDERAL TAXES
                                                                                      (Prisoner Petition )
                                                  Other                           465 Other Immigrant                                                          870 Taxes (U.S. Plaintiff
                                              448 Education                           Actions                                                                  or Defendant)
                                                                                                                                                               871 IRS—Third Party
                                                                                                                                                                    26 USC 7609

V. ORIGIN (Check one box, only.)
■       1 Original                2 Removed from                 3     Remanded from                       4       Reinstated or              5    Transferred from               6    Multidistrict        8   Multidistrict
          Proceeding                State Court                        Appellate Court                             Reopened                        Another District                    Litigation               Litigation
                                                                                                                                                   (specify)                                                    Direct File
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                   VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case number and
write a brief statement of cause.)                                                                             judge for any associated bankruptcy matter previously adjudicated by a judge of this Court. Use a separate
                                                                                                               attachment if necessary.)
47 U.S.C. 227
VIII. REQUESTED IN                  Check if this is a class action under Rule                                           DEMAND $                                     Check Yes only if demanded in complaint.
      COMPLAINT: Class Damages      23, F.R.CV.P.                                                                                                                     JURY DEMAND:           Yes      No
IX. RELATED CASE(S) (See instructions)
     IF ANY                            Judge                                                                                                            Case Number
 X. Is this a previously dismissed or remanded case?                         Yes         No If yes, Case #                                          Name of Judge
 Date                                                           Signature of attorney of record
            02/12/2018                                                 /s/ Katrina Carroll
